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            9
          10                             UNITED STATES DISTRICT COURT
          11                           CENTRAL DISTRICT OF CALIFORNIA
          12                                        WESTERN DIVISION
          13     Oscar Enrique Nuñez Euceda,                       CASE NO. 2:20-cv-10793
          14                         Plaintiff,                    COMPLAINT
          15            v.                                         DEMAND FOR JURY TRIAL
          16     United States of America,
          17                         Defendant.
          18
          19                                           COMPLAINT
          20           For being forcefully separated and isolated from his children, Plaintiff Oscar
          21     Enrique Nuñez Euceda brings this complaint against the United States of America
          22     pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 1346(b) and §§ 2671–
          23     2680, stating as follows:
          24                                         INTRODUCTION
          25           1.     This case seeks redress for the forced separation of Mr. Nuñez Euceda
          26     from his children by the government of the United States when they arrived here
          27     seeking asylum. It further concerns the inhumane and cruel treatment of Mr. Nuñez
          28     Euceda while he was in the custody of the United States government.

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            1           2.    The treatment of Mr. Nuñez Euceda was not an isolated occurrence.
            2    Rather, it was the result of an unprecedented policy issued at the highest levels of the
            3    federal government. That policy had one goal: separate parents from their children to
            4    deter lawful asylum seekers. Members of the United States government, from the most
            5    senior administration officials to agents stationed at the border, chose to inflict
            6    immense emotional pain, suffering, and trauma on parents and their young children in
            7    service of their policy objective, which was to deter anyone from seeking asylum at the
            8    southern border, especially Central American immigrants.
            9           3.    In May 2018, former Department of Homeland Security Secretary and
          10     then Chief of Staff to the President John Kelly callously dismissed concerns about the
          11     government’s forced-separation policy, remarking that “[t]he children will be taken
          12     care of—put into foster care or whatever.”1 The Attorney General at the time, Jeff
          13     Sessions, stated that “[w]e need to take away children . . . If [they] care about kids,
          14     don’t bring them in.” 2 Despite widespread condemnation and a federal-court
          15     injunction requiring the government to reunite separated families and stop further
          16     separations, President Trump continued to defend the policy as a deterrent to Central
          17     American migration, tweeting “if you don’t separate, FAR more people will come.” 3
          18            4.    In total, the government has admitted to separating more than 4,200
          19     children from their parents.4 This number does not include families that may not have
          20
          21
                 1
                     Transcript: White House Chief of Staff John Kelly’s Interview With NPR, NPR (May
          22         11, 2018, 8:36 AM), https://www.npr.org/2018/05/11/610116389/transcript-white-
                     house-chief-of-staff-john-kellys-interview-with-npr (emphasis added).
          23
                 2
                     Michael D. Shear, Katie Benner & Michael S. Schmidt, ‘We Need to Take Away
          24         Children,’ No Matter How Young, Justice Dept. Officials Said, N.Y. Times (Oct. 6,
                     2020), https://www.nytimes.com/2020/10/06/us/politics/family-separation-border-
          25         immigration-jeff-sessions-rod-rosenstein.html.
          26     3
                     Donald J. Trump (@realdonaldtrump), Twitter (Dec. 16, 2018, 8:25 AM),
                     https://twitter.com/realDonaldTrump/status/1074339834351759363.
          27
                 4
                     Leila Rafei, Family Separation, Two Years After Ms. L, ACLU (Feb. 26, 2020),
          28         https://www.aclu.org/news/immigrants-rights/family-separation-two-years-after-
                     ms-l.
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            1    been counted before the Ms. L. court’s order to account for the separated families. 5
            2    Additionally, thousands of families have been separated since the July 2018
            3    injunction. 6
            4           5.       Mr. Nuñez Euceda is one of those parents. The trauma he has endured
            5    along with thousands of others was not an incidental byproduct of the separation
            6    policy; it was the intended result of that policy. The government hoped that the
            7    psychological trauma it inflicted would deter parents and children from seeking
            8    asylum. This case seeks to hold the government responsible for that policy.
            9           6.       Mr. Nuñez Euceda fled Honduras in May 2018 with his two minor
          10     children—his partially-deaf 13-year-old daughter and his 17-year-old son. They left
          11     their homeland because Mara 18 gang members had repeatedly threatened, and then
          12     committed, violence against the family.
          13            7.       When Mr. Nuñez Euceda arrived in the United States, immigration
          14     officers verbally abused and ridiculed him. Then they forcibly separated him from his
          15     young children when he arrived at the processing center known as the hielera.
          16            8.       After being separated from his children, Mr. Nuñez Euceda was
          17     transferred to the ICE Port Isabel Service Processing Center (“Detention Center”) in
          18     Texas where he was put in solitary confinement for at least 14 days. He received little
          19     food throughout the day, was rarely permitted to leave his cell, and received no
          20     information about his children’s whereabouts. About a month after arriving in the
          21     United States, Mr. Nuñez Euceda was deported back to Honduras without being
          22     provided any information about the well-being or location of his children. He returned
          23     back to the dangers of Honduras without having been given an opportunity to say
          24
          25     5
                     See Office of Inspector General, U.S. Dep’t of Health & Human Servs., OEI-BL-18-
                     00511, Separated Children Placed in Office of Refugee Resettlement Care 1, 6, 13
          26         (Jan. 17, 2019) (reporting that “thousands of children may have been separated . . .
                     before the accounting required by the Court [in Ms. L.]”).
          27
                 6
                     See Kids In Need of Defense, Family Separation: Two Years Later, The Crisis
          28         Continues    4    (July   2020),   available   at   https://supportkind.org/wp-
                     content/uploads/2020/07/Family-Separation-Report-2020-FINAL-2.pdf.
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            1    goodbye.
            2          9.    After his deportation, Mr. Nuñez Euceda made the long journey back to
            3    the United States to see his children and once again seek asylum. He was finally
            4    allowed to apply for asylum and is currently awaiting his individual hearing.
            5          10.   Since May 2018, Mr. Nuñez Euceda has only been able to see his children
            6    once in person.
            7          11.   Separating Mr. Nuñez Euceda from his children, as well as the subsequent
            8    solitary confinement, caused him to suffer ongoing stress, depression, and anxiety. Mr.
            9    Nuñez Euceda has great difficulty vocalizing the pain and trauma he suffered during
          10     his detention, and he becomes visibly more anxious when he attempts to recall the
          11     moment his kids were taken from him. But that was the point of the government’s
          12     policy—to traumatize parents like Mr. Nuñez Euceda, and their children, in an effort to
          13     deter future, lawful asylum seekers from seeking refuge in the United States.
          14           12.   The separation and mistreatment Mr. Nuñez Euceda suffered at the hands
          15     of United States government officials had, and continues to have, crippling effects on
          16     his physical, emotional, and mental well-being. The government’s family-separation
          17     policy was as cruel and inhumane as it was unlawful. Accordingly, the United States is
          18     liable under the FTCA for the conduct that harmed Mr. Nuñez Euceda.
          19                                JURISDICTION AND VENUE
          20           13.   This Court has jurisdiction over Mr. Nuñez Euceda’s claim for money
          21     damages against the United States pursuant to 28 U.S.C. § 1346(b)(1).
          22           14.   Mr. Nuñez Euceda has exhausted his FTCA administrative claim. On
          23     February 12, 2020, Mr. Nuñez Euceda served by overnight mail and email the relevant
          24     United States departments and agencies with all required administrative forms. The
          25     government provided no final disposition of Mr. Nuñez Euceda’s administrative claims
          26     over the ensuing six months and has failed to respond to Mr. Nuñez Euceda’s claims in
          27     the interim. Mr. Nuñez Euceda therefore exercises the option to deem those claims
          28     denied pursuant to 28 U.S.C. § 2675(a).

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            1           15.   Mr. Nuñez Euceda resides in Altadena, California, which is within the
            2    Central District of California. Venue is therefore appropriate under 28 U.S.C.
            3    § 1402(b).
            4                                          PARTIES
            5           16.   Plaintiff Oscar Enrique Nuñez Euceda is a 38-year-old Honduran man,
            6    who was separated from his then 13- and 17-year-old children by officials of the
            7    United States government sometime in May 2018.
            8           17.   Defendant United States of America is a proper defendant under the
            9    FTCA. 28 U.S.C. §§ 1346(b), 2674. Mr. Nuñez Euceda sues the United States for
          10     personal injuries caused by the wrongful acts or omissions of its employees, including
          11     employees of the Department of Homeland Security (DHS), its constituent agencies
          12     Customs and Border Protection (CBP), United States Citizenship and Immigration
          13     Services (USCIS), Immigration and Customs Enforcement (ICE), as well as the
          14     Department of Health and Human Services (HHS). See 28 U.S.C. § 2671. Those
          15     employees were acting within the scope of their employment under circumstances
          16     where the United States, if a private person, would be liable to Mr. Nuñez Euceda in
          17     accordance with the law of the place where the acts or omissions occurred. 28 U.S.C.
          18     § 1346(b).
          19                                       ALLEGATIONS
          20            A.    The Government’s Family-Separation Policy
          21            18.   In April 2018, the Trump Administration began separating families along
          22     the United States’ southwestern border with Mexico as part of a “Zero-Tolerance”
          23     policy mandating the prosecution of all persons that crossed the border between ports
          24     of entry. 7 The goal of the Administration was to deter lawful asylum seekers, and
          25     others, from seeking refuge in the United States by harming families through the
          26
          27
                 7
                     Attorney General Announces Zero-Tolerance Policy for Criminal Illegal Entry,
          28         Dep’t of Justice (Apr. 6, 2018), https://www.justice.gov/opa/pr/attorney-general-
                     announces-zero-tolerance-policy-criminal-illegal-entry.
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            1    forcible separation of parents and children.
            2            19.   Administration officials knew that separation would cause enormous
            3    trauma to children and parents, and intended to use the publicity regarding that trauma
            4    as one aspect of a strategy of deterrence. On June 19, 2018, acting assistant secretary
            5    of HHS Steven Wagner told reporters that “[w]e expect that the new [separation]
            6    policy will result in a deterrence effect, we certainly hope that parents stop bringing
            7    their kids on this dangerous journey and entering the country illegally.” 8
            8            20.   Indeed, even after a federal judge enjoined the family-separation policy,
            9    concluding that separated parents would likely succeed on their claim that the
          10     separations were unconstitutional, 9 President Trump continued to promote the deterrent
          11     purpose of the policy, telling reporters that “[i]f they feel there will be separation, they
          12     don’t come.” 10
          13             21.   And, to the surprise of no one, parents and children suffered physically,
          14     mentally, and emotionally as a result of the forced separation—just as the
          15     Administration planned and expected. Mr. Nuñez Euceda was no exception.
          16             B.    Mr. Nuñez Euceda Comes to the United States Seeking Asylum
          17             22.   On or around May 18, 2018, Mr. Nuñez Euceda entered the United States
          18     with his two minor children, his partially-deaf 13-year-old daughter and his 17-year-
          19     old son. They were seeking asylum from gang violence in their native Honduras.
          20             23.   In Honduras, Mr. Nuñez Euceda was brutally attacked by machete-
          21
          22
                 8
                      Philip Bump, Here Are the Administration Officials Who Have Said That Family
          23          Separation Is Meant as a Deterrent, Wash. Post (June 19, 2018, 9:14 PM),
                      https://www.washingtonpost.com/news/politics/wp/2018/06/19/here-are-the-
          24          administration-officials-who-have-said-that-family-separation-is-meant-as-a-
                      deterrent.
          25
                 9
                      Ms. L. v. U.S. Immigr. & Customs Enf’t, 310 F. Supp. 3d 1133, 1142–46, 1149 (S.D.
          26          Cal. 2018), modified, 330 F.R.D. 284 (S.D. Cal. 2019).
          27     10
                      David Shepardson, Trump Says Family Separations Deter Illegal Immigration,
                      Reuters (Oct. 13, 2018, 5:44 PM), https://www.reuters.com/article/us-usa-
          28          immigration-trump/trump-says-family-separations-deter-illegal-immigration-
                      idUSKCN1MO00C.
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            1    wielding members of the deadly Mara 18 gang. Before resorting to the long,
            2    dangerous journey to come to the United States, Mr. Nuñez Euceda and his children
            3    first attempted to relocate within Honduras. In fact, they tried relocating multiple
            4    times but each time still faced grave danger as a result of Mara 18’s death threats.
            5          24.    Shortly after crossing the border into the United States near Reynosa,
            6    Mexico, several CBP agents approached the group Mr. Nuñez Euceda and his children
            7    were travelling with.
            8          25.    The CBP agents questioned members of the group and asked Mr. Nuñez
            9    Euceda whether he had seen the news about parents crossing into the United States and
          10     how they were being separated from their children as punishment. Mr. Nuñez told the
          11     officers that he was fleeing violence in Honduras that had impacted his family.
          12           26.    The agent then informed Mr. Nuñez Euceda that he was going to take Mr.
          13     Nuñez Euceda and his children to another officer, who would take them to a nearby
          14     Detention Center.
          15           C.     Government Agents Separate Mr. Nuñez Euceda and His Children
          16           27.    After the CBP agents detained Mr. Nuñez Euceda and his children, they
          17     were loaded into a vehicle and transferred to a nearby holding center, commonly
          18     known as a “hielera,” which means “icebox” in Spanish.
          19           28.    Right after arriving at the hielera, an officer told Mr. Nuñez Euceda that
          20     his children were going to be taken away from him. He pleaded with the officer to not
          21     take his children away, but to no avail. At this point, the officer separated Mr. Nuñez
          22     Euceda and his children, sending Mr. Nuñez Euceda alone to the cages in the hielera.
          23     Mr. Nuñez Euceda’s children cried as they were taken from their father.
          24           29.    It would be 19 months before Mr. Nuñez Euceda saw his children again.
          25     It would be at least a month before Mr. Nuñez Euceda even knew where his children
          26     had been taken or who was caring for them.
          27           30.    Over the course of the next month, Mr. Nuñez Euceda would ask various
          28     officials, at the hielera and Detention Center, about the location and safety of his

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            1    children. Those questions fell on deaf ears.
            2          D.     Government Agents Mistreat Mr. Nuñez Euceda in the Hielera
            3          31.    For roughly a week after government agents took away his children, Mr.
            4    Nuñez Euceda was detained in the hielera. During that time he was held in a cell with
            5    approximately 70 other men. It was extremely cramped and crowded, making it nearly
            6    impossible to sleep. He was provided no bedding and due to the over-crowding, Mr.
            7    Nuñez Euceda had to sleep on the floor.
            8          32.    During his weeklong confinement, Mr. Nuñez Euceda was given food
            9    only once a day, and he was never given an opportunity to shower or to change into
          10     fresh clothing. Compounding these already unsanitary conditions, all detainees were
          11     inhumanely made to share just one or two toilets.
          12           33.    During his detention in the hielera, Mr. Nuñez Euceda repeatedly told
          13     different officials that he wanted to apply for asylum as a result of the violence and
          14     trauma he suffered in Honduras. Every time he raised the issue of applying for asylum
          15     he was wrongly told that he was not allowed to apply.
          16           34.    Sometime after being detained at the hielera, CBP agents attempted to
          17     force Mr. Nuñez Euceda to sign a form—in English, even though Mr. Nuñez Euceda
          18     only understands Spanish. Those agents did not explain what the document said, and
          19     they refused to provide Mr. Nuñez Euceda with a Spanish translation of the document.
          20     As a result, Mr. Nuñez Euceda refused to sign the document. A CBP officer responded
          21     by threatening Mr. Nuñez Euceda, telling him that if he did not sign he would never
          22     see his children again. At that point, Mr. Nuñez Euceda had not heard anything
          23     regarding the safety of his kids in about a week and the threats from the officer made
          24     Mr. Nuñez Euceda even more anxious and stress-ridden.
          25           E.     Government Agents Mistreat Mr. Nuñez Euceda at Port Isabel
          26           35.    After Mr. Nuñez Euceda’s roughly week-long detention in the hielera,
          27     government agents transferred him to the Detention Center in Los Fresnos, Texas.
          28

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            1    Although the location had changed, his treatment was just as bad, if not worse.
            2          36.    On his arrival at the Detention Center, the government detained Mr.
            3    Nuñez Euceda in solitary confinement for over two weeks. During that time, he was
            4    given very little food, and he was only rarely permitted to go outside.
            5          37.    It is tragically unsurprising that while Mr. Nuñez Euceda was detained at
            6    the Port Isabel Detention Center, another detainee informed him that a fellow detainee
            7    had committed suicide by hanging.
            8          38.    During his detention at Port Isabel, Mr. Nuñez Euceda filed a number of
            9    forms with the guards and federal agents seeking assistance, including basic medical
          10     care and information on the whereabouts of his children. He never received a
          11     response.
          12           39.    In fact, Mr. Nuñez Euceda repeatedly asked government officials where
          13     his children had been taken. But they never provided Mr. Nuñez Euceda with any
          14     information or a means to contact them. It wasn’t until Mr. Nuñez Euceda returned to
          15     Honduras that he was able to find out any information about his children. Mr. Nuñez
          16     Euceda was stricken with constant grief due to the lack of any response from any of the
          17     government officials. Because he had no information about his children’s well-being,
          18     he was always wondering what had happened to them.
          19           40.    After more than two weeks in solitary confinement at Port Isabel, and a
          20     little over a month in the United States, Mr. Nuñez Euceda was briefly transferred back
          21     to the hielera and then deported to Honduras. He would end up making the journey
          22     back to the United States in order to apply for asylum and to try to reunite with his
          23     children.
          24           F.     The Prolonged Detention of Mr. Nuñez Euceda’s Children
          25           41.    During the period of their initial separation, Mr. Nuñez Euceda was given
          26     no information about the treatment, health, safety, or even location of his children, who
          27     had been separated themselves.
          28           42.    On information and belief, Mr. Nuñez Euceda’s minor son was detained

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            1    for approximately three months.
            2          43.       On information and belief, Mr. Nuñez Euceda’s partially-deaf minor
            3    daughter was detained for approximately seven months.
            4          44.       Not knowing about their whereabouts was a constant source of grief that
            5    burrowed deeper into Mr. Nuñez Euceda’s consciousness as the days dragged on in his
            6    solitary confinement.
            7          45.       Only after Mr. Nuñez Euceda was deported to Honduras was he able to
            8    speak to his daughter, who called him about once every two weeks. She often cried
            9    during these phone calls. She told Mr. Nuñez Euceda that she was “extremely sad”
          10     and “didn’t want to be where she was.”
          11           46.       Mr. Nuñez Euceda’s daughter is partly deaf and requires hearing aids.
          12     However, on information and belief, his daughter was not provided with adequate
          13     hearing aids while she was detained by the government for roughly seven months.
          14           47.       Both children were eventually released to their mother, who lives in North
          15     Carolina and has resided in the United States during the entirety of their detention.
          16     Federal officials never told Mr. Nuñez Euceda about the whereabouts of his children or
          17     provided him with information regarding their health and well-being. He only learned
          18     this information after he was deported and was eventually able to talk to the mother of
          19     his children.
          20           G.        Mr. Nuñez Euceda Is Finally, Albeit Briefly, Reunited With His
          21                     Children
          22           48.       The separation of Mr. Nuñez Euceda from his children has continued
          23     nearly unabated since May 2018—29 months and counting.
          24           49.       After being deported, Mr. Nuñez Euceda eventually made his way back to
          25     the United States from Honduras in order to seek asylum. His asylum case is pending.
          26           50.       Mr. Nuñez Euceda currently resides in Altadena, and one condition of his
          27     release from immigration custody is that he cannot travel outside of California without
          28     permission. He received permission from ICE officials to visit his children for one
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            1    three-week period in December 2019.
            2          51.     Otherwise, Mr. Nuñez Euceda’s separation from his children has been
            3    continuous.
            4          H.      To This Day, Mr. Nuñez Euceda Suffers From the Harmful Effects of
            5                  the Separation and His Mistreatment at the Hands of Government
                               Officers
            6
                       52.     Mr. Nuñez Euceda has suffered greatly from both the prolonged
            7
                 separation from his children and his detention. He continues to experience physical
            8
                 and psychological harm.
            9
                       53.     Indeed, during his long and still ongoing separation from his children, Mr.
          10
                 Nuñez Euceda has felt lonely and depressed. He has suffered, and continues to
          11
                 experience, severe emotional distress. Whenever Mr. Nuñez Euceda thinks about or is
          12
                 reminded of his detention, he experiences headaches, loses his sense of time, and
          13
                 suffers from attacks of anxiety.
          14
                       54.     These feelings of depression, anxiety, and stress were heightened by
          15
                 concern for his daughter, who he believes was not given properly functioning hearing
          16
                 aids during her seven-month detention. That lack of medical care made it extremely
          17
                 difficult for Mr. Nuñez Euceda to communicate with his daughter over the telephone
          18
                 while he was in Honduras and was attempting to return to the United States.
          19
                       55.     Moreover, Mr. Nuñez Euceda experienced physical pain as a result of his
          20
                 detention in inhumane conditions in both the hielera and afterward at Port Isabel. His
          21
                 time in solitary confinement caused him to suffer severe anxiety and frequent
          22
                 headaches. To this day, Mr. Nuñez Euceda suffers from night terrors and panic
          23
                 attacks, and he experiences disorientation including losing a sense of time when he
          24
                 tries to think about the events that occurred over that horrific month spent in Texas.
          25
          26
          27
          28

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            1          I.     The Separation of Mr. Nuñez Euceda from His Children Was
            2                 Unlawful and Done to Coerce Him into Abandoning Legitimate
                              Immigration Claims
            3
                       56.    There was no legitimate reason for the government to separate Mr. Nuñez
            4
                 Euceda from his minor children. That practice, which has been inflicted on thousands
            5
                 of parents and children, was done purely to intimidate and dissuade them from
            6
                 pursuing legitimate immigration claims, as is their right.
            7
                       57.    Indeed, in Ms. L., Judge Sabraw addressed the family-separation practices
            8
                 that Mr. Nuñez Euceda and his children were subject to. He agreed with the plaintiffs
            9
                 that these parents were the “victims of a wide-spread government practice” for “no
          10
                 legitimate reason.” Ms. L. v. U.S. Immigr. & Customs Enf’t, 302 F. Supp. 3d 1149,
          11
                 1165 (S.D. Cal. 2018). Similarly, another federal court concluded that “nothing in
          12
                 federal law suggests that deterring immigration by indefinitely separating families once
          13
                 parents have been transferred to immigration custody is a compelling or legitimate
          14
                 government objective.” M.G.U. v. Nielsen, 325 F. Supp. 3d 111, 121 (D.D.C. 2018).
          15
                       58.    Federal officers have a duty: (i) not to separate immigrant families that are
          16
                 arrested together, Ms. L., 310 F. Supp. 3d at 1142–46 (evidence regarding family
          17
                 separation was sufficient to show likelihood of success regarding claim that the
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                 government’s practice violates substantive due process rights to family integrity under
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                 the Fifth Amendment); see also U.S. Const. amend. V; The Refugee Act, Pub. L. No.
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                 96-212, 94 Stat. 102 (1980) (codifying procedures related to asylum); (ii) to prioritize
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                 the release of minors to family members, 8 C.F.R. § 1236.3(b); (iii) to permit detained
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                 parents to contact family members who were arrested with them, Ms. L., 310 F. Supp.
          23
                 3d at 1144–45, 1149–50; and (iv) to ensure the prompt release of minors held in
          24
                 immigration custody, see 8 U.S.C. § 1232(c); see also United Nations High
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                 Commissioner for Refugees, Detention Guidelines: Guidelines on the Applicable
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                 Criteria and Standards Relating to the Detention of Asylum-Seekers and Alternatives
          27
                 to Detention 34 (2012), http://www.unhcr.org/505b10ee9.html (children should as a
          28
                 general matter “not be detained at all”). The government officers that interacted with
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            1    Mr. Nuñez Euceda and his children violated each and every one of these obligations.
            2          59.    The well-established duty of federal officials is to ensure, whenever
            3    possible, that family unity is preserved and that minors are promptly released when
            4    they are held in immigration custody. See Flores v. Reno, No. 2:85-cv-4544, Dkt. No.
            5    177 at 5−6, 24 (C.D. Cal. July 24, 2015); United States v. Wolf Child, 699 F.3d 1082,
            6    1092 (9th Cir. 2012) (“Interference with” the “fundamental right to familial
            7    association” “requires ‘a powerful countervailing interest.’” (quoting Lassiter v. Dep’t
            8    of Soc. Servs., 452 U.S. 18, 27 (1981))); Halet v. Wend Inv. Co., 672 F.2d 1305, 1310–
            9    11 (9th Cir. 1982) (requiring compelling interest to deprive parents of their
          10     “fundamental right” to “live with their children”). The government’s family-separation
          11     policy did not just de-prioritize family unity—it intentionally tore families apart with a
          12     goal of traumatizing them.
          13           60.    The government agents that separated Mr. Nuñez Euceda from his
          14     children had no reason to believe he was an unfit parent or otherwise a danger to the
          15     children. As a result, separating Mr. Nuñez Euceda from his children, and then
          16     keeping them in government custody for many months, violated the government’s non-
          17     discretionary obligations. The government further violated its duty to provide basic
          18     medical care for children under its care by not providing Mr. Nuñez Euceda’s daughter
          19     with the appropriate medical devices for her hearing. Cf. Office of Refugee
          20     Resettlement, Health and Safety, Dep’t of Health & Human Servs. (May 3, 2019),
          21     https://www.acf.hhs.gov/orr/about/ucs/health-and-safety (“While children are in ORR
          22     custody, the federal government is responsible for their medical care.”).
          23           61.    But that’s not all. The separation of Mr. Nuñez Euceda from his children
          24     violated the more basic and constitutional right to family integrity. The Supreme Court
          25     has consistently recognized that the parent-child relationship is constitutionally
          26     protected, see Quilloin v. Walcott, 434 U.S. 246, 255 (1978) (citing Wisconsin v.
          27     Yoder, 406 U.S. 205, 231–33 (1972)) and Meyer v. Nebraska, 262 U.S. 390, 399–401
          28     (1923), and that it is vitally important for children to remain with their parents, see

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            1    Prince v. Massachusetts, 321 U.S. 158, 166 (1944) (“It is cardinal with us that the
            2    custody, care and nurture of the child reside first in the parents, whose primary
            3    function and freedom include preparation for obligations the state can neither supply
            4    nor hinder.”).
            5          62.    Judge Sabraw also concluded in Ms. L. that the family-separation policy
            6    that Mr. Nuñez Euceda and his children were subject to likely violated parents’ and
            7    children’s due-process rights. 310 F. Supp. 3d at 1144–46 (“A practice of this sort
            8    implemented in this way is likely to be ‘so egregious, so outrageous, that it may fairly
            9    be said to shock the contemporary conscience,’ . . . interferes with rights ‘implicit in
          10     the concept of ordered liberty[,]’ . . . and is so ‘brutal and offensive that it [does] not
          11     comport with traditional ideas of fair play and decency.’” (internal quotation marks
          12     omitted and cleaned up)); see also C.M. v. United States, 2020 WL 1698191, at *4 (D.
          13     Ariz. Mar. 30, 2020) (finding plaintiffs in a family-separation case had “plausibly
          14     alleged that the government’s separation of their families violated their constitutional
          15     rights”).
          16           63.    The separation of Mr. Nuñez Euceda from his children was additionally
          17     unconstitutional because it was motivated by discriminatory animus towards Latino
          18     immigrants of Central American origin. See State of Washington v. United States,
          19     2:18-cv-00939, Dkt. 1 (Complaint) ¶ 355 (W.D. Wash. June 26, 2018) (alleging the
          20     forcible-separation policy is “unconstitutional because it disparately impacts
          21     immigrants from Latin America” and “is motivated by animus and a desire to harm this
          22     particular group”). Central American asylum seekers, like Mr. Nuñez Euceda, were
          23     particularly targeted for separation in order to deter them from pursuing legitimate
          24     immigration claims. In fact, multiple government officials stated publicly that the
          25     purpose of family separation was to deter Central American families from seeking
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            1    asylum in the United States.11
            2            64.   In addition, federal officials also separated Mr. Nuñez Euceda from his
            3    children to impede his desire to pursue protection under United States immigration law
            4    in violation of his due-process rights. Ms. L., 302 F. Supp. 3d 1149, 1166–67 (S.D.
            5    Cal. 2018) (denying the government’s motion to dismiss plaintiffs’ due-process claim
            6    on the grounds that the government was using separation as a way to deter lawful
            7    asylum seekers). It is a common and long-standing government tactic to pressure
            8    immigrant parents into giving up their immigration cases by demoralizing them and
            9    convincing them to abandon their claims for asylum. See, e.g., Lopez Venegas v.
          10     Napolitano, No. 2:13-cv-03972, Dkt. 1 (Complaint) ¶¶ 57–60 (C.D. Cal. June 4, 2013);
          11     see also Doe v. Johnson, No. 4:15-cv-00250, Dkt. 1 (Complaint) ¶¶ 111, 171 & n.47
          12     (D. Ariz. June 8, 2015). 12
          13             65.   In this case, immigration officers separated Mr. Nuñez Euceda from his
          14     children and then attempted to get him to sign forms in English that he could not
          15     understand. On information and belief, Mr. Nuñez Euceda suspects these officers did
          16     this in an attempt to pressure Mr. Nuñez Euceda to sign away his rights and therefore
          17     avoid being permanently separated from his children. Mr. Nuñez Euceda believed that
          18     officials were trying to coerce him into not contesting his deportation in exchange for
          19     reunification with his children and deportation of the entire family together.
          20             66.   Relying on family separation to coerce asylum seekers into giving up
          21     immigration claims is a violation of existing regulations and a breach of the United
          22     States’ non-discretionary legal obligations. See 8 C.F.R. § 235.4 (an immigrant’s
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                 11
                      See Shepardson, supra n.10; see also Sessions Admits Policy Is a Deterrent, CNN
          25          (June 19, 2018), https://www.cnn.com/videos/politics/2018/06/19/sessions-defends-
                      controversial-immigration-policy-deterrent-sot.cnn.
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                 12
                      See also “You Don’t Have Rights Here”: US Border Screening and Returns of
          27          Central Americans to Risk of Serious Harm, Human Rights Watch (Oct. 16, 2014),
                      https://www.hrw.org/report/2014/10/16/you-dont-have-rights-here/us-border-
          28          screening-and-returns-central-americans-risk     (outlining   the     government’s
                      “aggressive deterrence strategy” for immigrants entering the United States).
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            1    “decision to withdraw his or her application for admission must be made voluntarily”);
            2    see also Ms. L. v. U.S. Immigr. & Customs Enf’t, 403 F. Supp. 3d 853, 863 (S.D. Cal.
            3    2019) (finding petitioner’s choice to withdraw her asylum claim was not voluntary
            4    because “she made her decision as a result of the continued separation from her
            5    child”).
            6                                            COUNT I
            7                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
            8          67.    Paragraphs 1 to 66 of this complaint are incorporated as if set forth herein.
            9          68.    By engaging in the acts described above, federal officials and agents, at
          10     the direction of the United States, engaged in extreme and outrageous conduct with the
          11     intent to cause, or with reckless disregard for the probability of causing, Mr. Nuñez
          12     Euceda to suffer severe emotional distress as a result of being separated from his
          13     children and the conditions of his confinement.
          14           69.    As a direct and proximate result of the government’s conduct, Mr. Nuñez
          15     Euceda has in fact suffered and still continues to suffer severe emotional distress.
          16           70.    Under the FTCA, the United States is liable to Mr. Nuñez Euceda for
          17     intentional infliction of emotional distress.
          18                                             COUNT II
          19                                          NEGLIGENCE
          20           71.    Paragraphs 1 to 66 of this complaint are incorporated as if set forth herein.
          21           72.    The federal officials referenced above had a duty to Mr. Nuñez Euceda to
          22     act with ordinary care so as not to cause harm or injury to Mr. Nuñez Euceda.
          23           73.    By engaging in the acts alleged herein, federal officials, at the direction of
          24     the United States, failed to act with ordinary care and also breached their duty of care
          25     to Mr. Nuñez Euceda.
          26           74.    As a direct and proximate result of the above-referenced conduct, Mr.
          27     Nuñez Euceda suffered substantial damages.
          28           75.    Under the FTCA, the United States is liable to Mr. Nuñez Euceda for

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            1    negligence.
            2                                           COUNT III
            3                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
            4          76.     Paragraphs 1 to 66 of this complaint are incorporated as if set forth herein.
            5          77.     By engaging in the acts described above, federal officials and agents, at
            6    the direction of the United States, engaged in negligent and grossly negligent conduct
            7    which caused Mr. Nuñez Euceda to suffer severe emotional distress as a result of being
            8    separated from his children and the conditions of his confinement.
            9          78.     The federal officials referenced above had a duty to Mr. Nuñez Euceda to
          10     act with ordinary care so as not to cause harm or injury to Mr. Nuñez Euceda.
          11           79.     By engaging in the acts alleged herein, federal officials, at the direction of
          12     the United States, failed to act with ordinary care and also breached their duty of care
          13     to Mr. Nuñez Euceda.
          14           80.     As a direct and proximate result of the government’s conduct, Mr. Nuñez
          15     Euceda has in fact suffered and still continues to suffer severe emotional distress.
          16           81.     Under the FTCA, the United States is liable to Mr. Nuñez Euceda for
          17     negligent infliction of emotional distress.
          18                                  DEMAND FOR JURY TRIAL
          19           Plaintiff hereby demands trial by jury on all issues raised by the Complaint
          20     under Rule 38(b) of the Federal Rules of Civil Procedure.
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            1                                  PRAYER FOR RELIEF
            2          Wherefore, Plaintiff Mr. Nuñez Euceda respectfully requests:
            3          (1)   Compensatory damages;
            4          (2)   Attorneys’ fees and costs pursuant to, among other provisions, the Equal
            5    Access to Justice Act, 28 U.S.C. § 2412; and
            6          (3)   Any further relief that the Court deems appropriate.
            7
                 Dated: November 25, 2020             Respectfully submitted,
            8
            9                                         GIBSON, DUNN & CRUTCHER LLP

          10                                          By:        /s/ Marcellus McRae

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